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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-0077V
                                        UNPUBLISHED


    ALISON AXON,                                            Chief Special Master Corcoran

                        Petitioner,                         Filed: February 23, 2023
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


John Robert Howie, Howie Law, PC, Dallas, TX, for Petitioner.

Felicia Langel, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On January 5, 2021, Alison Axon filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a right shoulder injury related to
vaccine administration (“SIRVA”) as a result of receiving an influenza (“flu”) vaccine on
October 18, 2019. Petition at 1. Petitioner further alleges that her symptoms have
continued for more than six months. Amended Petition at 12. The case was assigned to
the Special Processing Unit of the Office of Special Masters.

       On February 23, 2023, Respondent filed a combined Rule 4(c) report and Proffer
(“Rule 4/Proffer”) in which he concedes that Petitioner is entitled to compensation in this
case. Rule 4/Proffer at 1. Specifically, Respondent states that “petitioner had no history

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  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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of pain, inflammation, or dysfunction of the affected shoulder prior to vaccine
administration that would explain the alleged signs, symptoms, examination findings, and
diagnostic studies occurring after vaccine injection; she suffered the onset of pain within
forty-eight hours of vaccine administration; her pain and reduced range of motion were
limited to the shoulder in which the vaccine was administered; and there is no other
condition or abnormality present that would explain her symptoms. 42 C.F.R. §
100.3(c)(10).” Id. at 3. Respondent further agrees that Petitioner is entitled to a
presumption of causation. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




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